Case 17-26042-JNP   Doc 1    Filed 08/08/17 Entered 08/08/17 10:38:43   Desc
                            Petition Page 1 of 50
Case 17-26042-JNP   Doc 1    Filed 08/08/17 Entered 08/08/17 10:38:43   Desc
                            Petition Page 2 of 50
Case 17-26042-JNP   Doc 1    Filed 08/08/17 Entered 08/08/17 10:38:43   Desc
                            Petition Page 3 of 50
Case 17-26042-JNP   Doc 1    Filed 08/08/17 Entered 08/08/17 10:38:43   Desc
                            Petition Page 4 of 50
Case 17-26042-JNP   Doc 1    Filed 08/08/17 Entered 08/08/17 10:38:43   Desc
                            Petition Page 5 of 50
Case 17-26042-JNP   Doc 1    Filed 08/08/17 Entered 08/08/17 10:38:43   Desc
                            Petition Page 6 of 50
Case 17-26042-JNP   Doc 1    Filed 08/08/17 Entered 08/08/17 10:38:43   Desc
                            Petition Page 7 of 50
Case 17-26042-JNP   Doc 1    Filed 08/08/17 Entered 08/08/17 10:38:43   Desc
                            Petition Page 8 of 50
Case 17-26042-JNP   Doc 1    Filed 08/08/17 Entered 08/08/17 10:38:43   Desc
                            Petition Page 9 of 50
Case 17-26042-JNP   Doc 1    Filed 08/08/17 Entered 08/08/17 10:38:43   Desc
                            Petition Page 10 of 50
Case 17-26042-JNP   Doc 1    Filed 08/08/17 Entered 08/08/17 10:38:43   Desc
                            Petition Page 11 of 50
Case 17-26042-JNP   Doc 1    Filed 08/08/17 Entered 08/08/17 10:38:43   Desc
                            Petition Page 12 of 50
Case 17-26042-JNP   Doc 1    Filed 08/08/17 Entered 08/08/17 10:38:43   Desc
                            Petition Page 13 of 50
Case 17-26042-JNP   Doc 1    Filed 08/08/17 Entered 08/08/17 10:38:43   Desc
                            Petition Page 14 of 50
Case 17-26042-JNP   Doc 1    Filed 08/08/17 Entered 08/08/17 10:38:43   Desc
                            Petition Page 15 of 50
Case 17-26042-JNP   Doc 1    Filed 08/08/17 Entered 08/08/17 10:38:43   Desc
                            Petition Page 16 of 50
Case 17-26042-JNP   Doc 1    Filed 08/08/17 Entered 08/08/17 10:38:43   Desc
                            Petition Page 17 of 50
Case 17-26042-JNP   Doc 1    Filed 08/08/17 Entered 08/08/17 10:38:43   Desc
                            Petition Page 18 of 50
Case 17-26042-JNP   Doc 1    Filed 08/08/17 Entered 08/08/17 10:38:43   Desc
                            Petition Page 19 of 50
Case 17-26042-JNP   Doc 1    Filed 08/08/17 Entered 08/08/17 10:38:43   Desc
                            Petition Page 20 of 50
Case 17-26042-JNP   Doc 1    Filed 08/08/17 Entered 08/08/17 10:38:43   Desc
                            Petition Page 21 of 50
Case 17-26042-JNP   Doc 1    Filed 08/08/17 Entered 08/08/17 10:38:43   Desc
                            Petition Page 22 of 50
Case 17-26042-JNP   Doc 1    Filed 08/08/17 Entered 08/08/17 10:38:43   Desc
                            Petition Page 23 of 50
Case 17-26042-JNP   Doc 1    Filed 08/08/17 Entered 08/08/17 10:38:43   Desc
                            Petition Page 24 of 50
Case 17-26042-JNP   Doc 1    Filed 08/08/17 Entered 08/08/17 10:38:43   Desc
                            Petition Page 25 of 50
Case 17-26042-JNP   Doc 1    Filed 08/08/17 Entered 08/08/17 10:38:43   Desc
                            Petition Page 26 of 50
Case 17-26042-JNP   Doc 1    Filed 08/08/17 Entered 08/08/17 10:38:43   Desc
                            Petition Page 27 of 50
Case 17-26042-JNP   Doc 1    Filed 08/08/17 Entered 08/08/17 10:38:43   Desc
                            Petition Page 28 of 50
Case 17-26042-JNP   Doc 1    Filed 08/08/17 Entered 08/08/17 10:38:43   Desc
                            Petition Page 29 of 50
Case 17-26042-JNP   Doc 1    Filed 08/08/17 Entered 08/08/17 10:38:43   Desc
                            Petition Page 30 of 50
Case 17-26042-JNP   Doc 1    Filed 08/08/17 Entered 08/08/17 10:38:43   Desc
                            Petition Page 31 of 50
Case 17-26042-JNP   Doc 1    Filed 08/08/17 Entered 08/08/17 10:38:43   Desc
                            Petition Page 32 of 50
Case 17-26042-JNP   Doc 1    Filed 08/08/17 Entered 08/08/17 10:38:43   Desc
                            Petition Page 33 of 50
Case 17-26042-JNP   Doc 1    Filed 08/08/17 Entered 08/08/17 10:38:43   Desc
                            Petition Page 34 of 50
Case 17-26042-JNP   Doc 1    Filed 08/08/17 Entered 08/08/17 10:38:43   Desc
                            Petition Page 35 of 50
Case 17-26042-JNP   Doc 1    Filed 08/08/17 Entered 08/08/17 10:38:43   Desc
                            Petition Page 36 of 50
Case 17-26042-JNP   Doc 1    Filed 08/08/17 Entered 08/08/17 10:38:43   Desc
                            Petition Page 37 of 50
Case 17-26042-JNP   Doc 1    Filed 08/08/17 Entered 08/08/17 10:38:43   Desc
                            Petition Page 38 of 50
Case 17-26042-JNP   Doc 1    Filed 08/08/17 Entered 08/08/17 10:38:43   Desc
                            Petition Page 39 of 50
Case 17-26042-JNP   Doc 1    Filed 08/08/17 Entered 08/08/17 10:38:43   Desc
                            Petition Page 40 of 50
Case 17-26042-JNP   Doc 1    Filed 08/08/17 Entered 08/08/17 10:38:43   Desc
                            Petition Page 41 of 50
Case 17-26042-JNP   Doc 1    Filed 08/08/17 Entered 08/08/17 10:38:43   Desc
                            Petition Page 42 of 50
Case 17-26042-JNP   Doc 1    Filed 08/08/17 Entered 08/08/17 10:38:43   Desc
                            Petition Page 43 of 50
Case 17-26042-JNP   Doc 1    Filed 08/08/17 Entered 08/08/17 10:38:43   Desc
                            Petition Page 44 of 50
Case 17-26042-JNP   Doc 1    Filed 08/08/17 Entered 08/08/17 10:38:43   Desc
                            Petition Page 45 of 50
Case 17-26042-JNP   Doc 1    Filed 08/08/17 Entered 08/08/17 10:38:43   Desc
                            Petition Page 46 of 50
Case 17-26042-JNP   Doc 1    Filed 08/08/17 Entered 08/08/17 10:38:43   Desc
                            Petition Page 47 of 50
Case 17-26042-JNP   Doc 1    Filed 08/08/17 Entered 08/08/17 10:38:43   Desc
                            Petition Page 48 of 50
Case 17-26042-JNP   Doc 1    Filed 08/08/17 Entered 08/08/17 10:38:43   Desc
                            Petition Page 49 of 50
Case 17-26042-JNP   Doc 1    Filed 08/08/17 Entered 08/08/17 10:38:43   Desc
                            Petition Page 50 of 50
